           Case 5:17-cv-00220-LHK Document 1036 Filed 12/21/18 Page 1 of 4



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10                                UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN JOSE DIVISION

13

14    FEDERAL TRADE COMMISSION,                            )   Case No. 5:17-cv-00220-LHK
                                                           )
15                          Plaintiff,                     )
                                                           )   DECLARATION OF STEVEN M.
16    v.                                                   )   GEISZLER IN SUPPORT OF JOINT
17                                                         )   ADMINISTRATIVE MOTION TO
      QUALCOMM INCORPORATED,                               )   FILE UNDER SEAL (DKT. 1024)
18                                                         )
                            Defendant.
                                                           )
19                                                         )
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                      DECLARATION OF STEVEN M. GEISZLER IN SUPPORT OF JOINT MOTION TO SEAL
                                  CASE NO. 5:17-CV-00220-LHK
         Case 5:17-cv-00220-LHK Document 1036 Filed 12/21/18 Page 2 of 4



 1                                DECLARATION OF STEVEN GEISZLER

 2            I, Steven M. Geiszler, declare as follows:

 3            1.     I am the U.S. Chief Intellectual Property Litigation Counsel for Non-Party Huawei

 4   Device USA, Inc. (“Huawei Device USA”).

 5            2.     Pursuant to N.D. Cal. Civil Local Rule 79-5(d) and (e), I respectfully submit this

 6   declaration in support of the Joint Administrative Motion to File Under Seal Portions of Defendant

 7   Qualcomm Incorporated’s Motion to Exclude Expert Reports of Richard L. Donaldson (Dkt. 1024)

 8   (“Motion to Seal”). I have personal knowledge of the information set forth herein.

 9            3.     Huawei Device USA seeks to seal portions of Exhibit 1, the Expert Report of Richard

10   Donaldson (“Donaldson Report”) and Exhibit 2, the Rebuttal Report of Richard Donaldson

11   (“Donaldson Rebuttal Report”) because they contain references to highly confidential information

12   that, if publicly disclosed, would harm the competitive standing of Huawei Device USA and its

13   affiliates. Huawei Device USA requests an order granting its motion to file under seal the following

14   portions of documents:

15
              Document            Portions to be Filed Under      Party Claiming    Basis for Sealing
16
                                              Seal                Confidentiality
17    Exhibit 1 to the           ¶ 124, Pages 56-57               Huawei Device Declaration of Steven
      Declaration of                                              USA, Inc.       M. Geiszler In
18    Geoffrey T. Holtz in                                        (“Huawei”)      Support of
      Support of Qualcomm                                                         Qualcomm’s Motions
19    Incorporated’s Motion                                                       to Strike or Exclude
      to Exclude Expert                                                           (“Geiszler
20
      Reports of Richard L.                                                       Declaration”)
21    Donaldson
      Ex. 1                      ¶ 125, Lines 10-12, Page 57      Huawei              Geiszler Declaration
22    Ex. 1                      ¶ 126, Pages 57-58               Huawei              Geiszler Declaration
      Ex. 1                      ¶ 127, Page 58                   Huawei              Geiszler Declaration
23
      Ex. 1                      ¶ 128, Lines 1-3, Page 59        Huawei              Geiszler Declaration
24    Ex. 1                      ¶ 129, Line 3, Page 60           Huawei              Geiszler Declaration
      Ex. 1                      ¶ 131- 132, Pages 60-61          Huawei              Geiszler Declaration
25    Ex. 1                      ¶ 133, Line 1, Page 61           Huawei              Geiszler Declaration
      Ex. 1                      ¶ 133, Lines 3-4 and 8-9,        Huawei              Geiszler Declaration
26                               Page 62
27    Ex. 1                      Footnote 164 (last two lines),   Huawei              Geiszler Declaration
                                 Page 55
28    Ex. 1                      Footnote 166, Page 56-57         Huawei              Geiszler Declaration
                                                         2
                        DECLARATION OF STEVEN M. GEISZLER IN SUPPORT OF JOINT MOTION TO SEAL
                                    CASE NO. 5:17-CV-00220-LHK
         Case 5:17-cv-00220-LHK Document 1036 Filed 12/21/18 Page 3 of 4



 1    Ex. 1                     Footnote 171, Page 58, Lines      Huawei              Geiszler Declaration
                                3- 4
 2    Ex. 1                     Footnote 173, Page 58, Lines      Huawei              Geiszler Declaration
 3                              1- 4
      Ex. 1                     Footnote 176, Page 58
 4    Ex. 1                     Footnote 177, Page 59             Huawei              Geiszler Declaration
      Ex. 1                     Footnote 178, Page 59, Lines      Huawei              Geiszler Declaration
 5                              1- 6 and 10-17
 6    Ex. 1                     Footnote 190, Page 61, Line       Huawei              Geiszler Declaration
                                1-3
 7    Exhibit 2 to the          ¶ 22, Lines 12-14, Page 13        Huawei              Geiszler Declaration
      Declaration of
 8    Geoffrey T. Holtz in
      Support of Qualcomm
 9    Incorporated’s Motion
10    to Exclude Expert
      Reports of Richard L.
11    Donaldson
      Ex. 2                     Footnote 41, Page 13, Lines       Huawei              Geiszler Declaration
12                              1- 4
13            4.    Specifically, the identified portions of the Donaldson Report and the Donaldson
14   Rebuttal Report describe the chipset supply and contract negotiation strategy employed by Huawei
15   Technologies Co., Ltd. (“Huawei”) and its foreign affiliates for their hardware and software product
16   offerings. In describing these topics, Qualcomm’s Motion exhibits contain references to Huawei’s
17   internal deliberations and its confidential licensing agreements with Qualcomm. Ex. 1 at 57-59, 59-
18   60, 60-61, 61-62; Ex. 2 at 13.
19            5.    The identified portions of the Donaldson Report and the Donaldson Rebuttal Report
20   also describe Huawei’s confidential licensing contract and chipset supply negotiations with
21   Qualcomm. Disclosing such negotiations could also disadvantage Huawei in negotiations with other
22   suppliers and licensors. Ex. 1 at 56-57, 57, 57-59, 60-61, 61-62; Ex. 2 at 13.
23            6.    The identified portions of the Donaldson Report describe Huawei’s internal views on
24   its patent portfolio, license agreement terms, and competitors. Disclosing this information would
25   disadvantage Huawei when negotiating with other licensors and suppliers. Ex. 1 at 55.
26            7.    Huawei Device USA has a strong business interest in maintaining the confidentiality
27   of its supplier decisions and contracts involved with manufacturing its products and therefore
28   supports Plaintiffs’ motion to seal insofar as it relates to these internal deliberations. Huawei’s cost
                                                           3
                       DECLARATION OF STEVEN M. GEISZLER IN SUPPORT OF JOINT MOTION TO SEAL
                                   CASE NO. 5:17-CV-00220-LHK
         Case 5:17-cv-00220-LHK Document 1036 Filed 12/21/18 Page 4 of 4



 1   structure is sensitive and confidential. Within Huawei, access to such confidential information is

 2   restricted. Consistent with Huawei’s continuous efforts to ensure that its confidential internal

 3   deliberations are not disseminated more widely than necessary, the documents containing this

 4   information were produced as “HUAWEI CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES

 5   ONLY” pursuant to the Supplemental Protective Order. (Dkt. 218)

 6          8.      In addition, Huawei Device USA has a strong business interest in maintaining the

 7   confidentiality of its contact terms and negotiations with Qualcomm and therefore supports

 8   Plaintiffs’ motion to seal insofar as it relates to these topics. Huawei’s contract negotiation strategy

 9   is sensitive and confidential. Within Huawei, access to such confidential information is restricted.

10   Consistent with Huawei’s continuous efforts to ensure that its confidential contracts and negotiations

11   are not disseminated more widely than necessary, the documents containing this information were

12   produced as “HUAWEI CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” pursuant to

13   the Supplemental Protective Order. (Dkt. 218)

14          9.      Information concerning Huawei’s contract terms and competitive strategy are kept in

15   strict confidence, even from Huawei employees who do not have a need to know. Public disclosure

16   of any of this information would create an asymmetry between Huawei and its competitors and

17   would hurt Huawei’s competitive standing. Disclosure of this information could be used by

18   competitors to Huawei’s disadvantage.

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct.

21          Executed this day, December 19, 2018 in Plano, Texas.

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                                                             Steven M. Geiszler
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                       DECLARATION OF STEVEN M. GEISZLER IN SUPPORT OF JOINT MOTION TO SEAL
                                   CASE NO. 5:17-CV-00220-LHK
